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                IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF MARYLAND


DEBORAH LAUFER,                      :
                                     : Case No.: 4:20-cv-00194-CDL
          Plaintiff,                 :
v.                                   :
                                     :
KRISHNA LLC,                         :
          Defendant.                 :
____________________________________ :
                                     :
                                     :

               AFFIDAVIT OF TRISTAN W. GILLESPIE, ESQ.

     I, Tristan W. Gillespie, Esq, hereby state under oath the following:

  1. I am an attorney for the above-referenced Plaintiff. I have been an attorney

     since 2006 and a member in good standing in the Georgia, New York,

     Maryland, District of Columbia, and New Jersey Bars. My resume is attached

     hereto.

  2. I have handled dozens of Title III ADA cases during the course of my

     professional career.

  3. I am an attorney in the instant action. I certify that I personally entered and

     fully reviewed my time records and supporting data submitted in this action

     and, specifically in Plaintiffs’ Fee Petition and that the motion is

     well-grounded and justified, and my time records are accurate.
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   4. The time sheets submitted by me are primary, rather than secondary

      (attached). At the time of each task, I personally open the time sheet file

      maintained on my computer. I personally enter the date, description of the

      task, and time in tenths of an hour. When appropriate, I add up the time and

      calculate the entire bill. The exhibit submitted as my time sheet is the

      original time sheet I maintain, converted into PDF version for submission as

      an exhibit.

   5. A Bill of Costs and expenses incurred in this matter is attached hereto.

   6. The invoice from the process server is attached hereto.

   7. The invoice from the ADA researcher/investigator is attached hereto.

      Pursuant to 28 USC § 1746, I declare, certify, verify, and state, under penalty

of perjury that the foregoing is true and correct.

      Executed on September 23, 2020.



                                               Attorney for Plaintiff:

                                               _/s/ Tristan W. Gillespie__
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